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June 9, 2025

VIA ECF
The Honorable Lewis J. Liman
United States District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl St., Room 1620
New York, NY 10007

Re:    Lively v. Wayfarer Studios LLC, et al., No. 1:24-cv-10049-LJL [rel. No. 1:25-cv-00449]

Dear Judge Liman:

        On behalf of Blake Lively, we write pursuant to Rule 4.b of Attachment A to Your Honor’s
Individual Rules to respectfully request that the Court preliminarily seal Exhibits A and B to Ms.
Lively’s Opposition to Jed Wallace and Street Relations’ motion to stay discovery, Dkt. No. 287,
filed contemporaneously herewith. Exhibits A and B are documents produced by Mr. Wallace
during discovery, which he designated as confidential. In accordance with Rule 4.b of Attachment
A, Ms. Lively respectfully requests that the Court not rule on this letter-motion to seal for one week,
so that the parties have the opportunity to meet and confer, and Mr. Wallace may file a motion for
continued sealing if he so chooses.

                                                     Respectfully submitted,

                                                     /s/ Esra A. Hudson

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